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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. MJ 11-067
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   AKATA MARIA LISA SMITH,              )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Interfere with Commerce by Robbery

15 Date of Detention Hearing:     March 14, 2011

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably assure

19 the appearance of defendant as required and the safety of other persons and the community.

20         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21          (1)    Defendant and a co-defendant are charged with conspiring to obtain, for the

22 purpose of distribution, cocaine and methamphetamine by robbing a residence where narcotics




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01 were stored.

02           (2)    Defendant has no stable residence or employment history. She has a serious

03 multi-substance abuse history, a lengthy criminal record with multiple failures to appear for

04 hearing, and is associated with 15 aliases and 2 dates of birth. She has no viable release address.

05           (3)    Defendant poses a risk of nonappearance due to unstable residential history, lack

06 of viable release address, extensive history of failing to appear, history of failing to comply with

07 court orders, pending matters in other court jurisdictions, active warrants, mental health concerns,

08 and substance abuse issues. Defendant poses a risk of danger due to the nature of the instant

09 offense, criminal history, a history of failing to comply with court orders, and substance abuse

10 issues.

11           (4)    There does not appear to be any condition or combination of conditions that will

12 reasonably assure the defendant’s appearance at future Court hearings while addressing the

13 danger to other persons or the community.

14 It is therefore ORDERED:

15           (1)    Defendant shall be detained pending trial and committed to the custody of the

16                  Attorney General for confinement in a correction facility separate, to the extent

17                  practicable, from persons awaiting or serving sentences or being held in custody

18                  pending appeal;

19           (2)    Defendant shall be afforded reasonable opportunity for private consultation with

20                  counsel;

21           (3)    On order of a court of the United States or on request of an attorney for the

22                  Government, the person in charge of the corrections facility in which defendant




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01             is confined shall deliver the defendant to a United States Marshal for the purpose

02             of an appearance in connection with a court proceeding; and

03       (4)   The clerk shall direct copies of this Order to counsel for the United States, to

04             counsel for the defendant, to the United States Marshal, and to the United States

05             Pretrial Services Officer.

06       DATED this 14th day of March, 2011.



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08                                           Mary Alice Theiler
                                             United States Magistrate Judge
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     DETENTION ORDER                                                                    PAGE 3
